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  1   Peter E. Perkowski (SBN 199491)
      peter@perkowskilegal.com
  2   PERKOWSKI LEGAL, PC
      445 S. Figueroa Street, Suite 3100
  3   Los Angeles, CA 90071
      Telephone: (213) 426-2137
  4
      Attorneys for Defendants Okularity, Inc.
  5   and Jon Nicolini
  6   Peter R. Afrasiabi (Bar No. 193336)
      pafrasiabi@onellp.com
  7   ONE LLP
      4000 MacArthur Boulevard
  8   Each Tower, Suite 500
      Newport Beach, CA 92660
  9   Telephone: (949) 502-2870
      Facsimile: (949) 258-5081
 10
      David Quinto (Bar No. 106232)
 11   Joanna Ardalan (Bar No. 285384)
      jardalan@onellp.com
 12   ONE LLP
      9301 Wilshire Boulevard
 13   Penthouse Suite
      Beverly Hills, CA 90210
 14   Telephone: (310) 866-5157
      Facsimile: (310) 943-2085
 15
      Attorneys for Plaintiffs
 16   Backgrid USA, Inc., Splash News and
      Picture Agency, LLC, and Xposure Photo
 17   Agency, Inc.
 18
                           UNITED STATES DISTRICT COURT
 19
                         CENTRAL DISTRICT OF CALIFORNIA
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       ENTTECH MEDIA GROUP LLC,                  Case No.: 2:20-cv-06298 RGK (Ex)
 21                                              Hon. R. Gary Klausner
                    Plaintiffs,
 22                                              DECLARATION OF JON NICOLINI
             v.
 23                                              IN SUPPORT OF MOTION FOR
       OKULARITY, INC.; JON NICOLINI;            SANCTIONS
 24    BACKGRID USA, INC.; SPLASH
 25    NEWS AND PICTURE AGENCY,                  Date:       October 26, 2020
       LLC; AND XPOSURE PHOTO                    Time:       9:00 a.m.
 26                                              Place:      TBD
       AGENCY, INC.
 27                 Defendants.                  Compl. filed:     July 15, 2020
                                                 No Trial Date Set
 28

                                  DECLARATION OF JON NICOLINI
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  1                         DECLARATION OF JON NICOLINI
  2         I, Jon Nicolini, declare as follows:
  3         1.    I am over the age of 18 and have personal knowledge of the events and
  4   information set forth below.
  5         2.    I am the founder and Chief Executive Officer of Okularity, Inc.
  6   Okularity is a technology services company.
  7         3.    Among Okularity’s customers are BackGrid USA, Inc., Splash News
  8   and Picture Agency, LLC, and Xposure Photo Agency Inc. (each a “Photo Agency”
  9   and collectively the “Photo Agencies”). Because the Photo Agencies rely on
 10   licensing fees from customers, having the same content available unlicensed and
 11   widely distributed threatens the Photo Agencies’ entire business model. To guard
 12   against this, the Photo Agencies contract with Okularity to search for unauthorized
 13   uses of images from the Photo Agencies’ libraries, among other services, including
 14   the issuing of Digital Millennium Copyright Act (“DMCA”) takedown notices.
 15         4.    I personally handle all DMCA takedown notices that Okularity sends
 16   on behalf of the Photo Agencies, including those issued to Instagram related to the
 17   ENTtech Instagram account.
 18         5.    I personally caused the sending of 35 DMCA notices to Instagram
 19   relating to ENTtech’s unauthorized use of 34 photographs belonging to the Photo
 20   Agencies on ENTtech’s Instagram account. These DMCA notices were sent over a
 21   period of about a month. I personally reviewed each infringement prior to issuing the
 22   corresponding DMCA takedown notices to Instagram. (In my declaration
 23   previously served on Tauler, I stated that there were 34 DMCA notices, but missed
 24   one notice in my count.)
 25         6.    In addition, before sending each of the 35 DMCA takedown notices, I
 26   considered whether ENTtech’s use of the photos may be fair use. In each instance, I
 27   concluded that fair use did not apply to any of the infringements by ENTtech for
 28   which I sent a notice. None of the 35 DMCA takedown notices at issue here were
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                                 DECLARATION OF JON NICOLINI
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  1   sent to Instagram by a fully automated system. The photos that were infringed by
  2   ENTtech on its Instagram account are attached as Exhibit A. In the instances where
  3   the screenshot does not display a post on Instagram, the photograph shown is either
  4   an exact replica as it was uploaded by ENTtech and displayed on Instagram, or it
  5   was a sequential photograph, that is, a "slide," on a unique Instagram
  6   post. Instagram allows up to ten slides per post. Unfortunately, I forgot to
  7   screenshot every Instagram post, but I did ensure all of the infringing photographs
  8   directly uploaded by ENTtech were saved.
  9         7.     I spoke with Robert Tauler before he filed this lawsuit on behalf of
 10   ENTtech. During those discussions, I told Mr. Tauler that I personally reviewed
 11   each infringement for fair use prior to issuing a DMCA takedown notice and further
 12   that the takedown notices were not issued by an automated process.
 13         8.     Prior to speaking with Tauler, I communicated with at least two people
 14   who I believe are executives from ENTtech. On July 8, I corresponded with
 15   ENTtech’s CEO Tom Florio and its Executive Vice President of Audience
 16   Development Lily Kwong. I provided them with a spreadsheet detailing information
 17   about the infringement. A true and correct copy of the spreadsheet is attached as
 18   Exhibit B. Using WeTransfer, I also sent Florio and Kwong files containing copies
 19   or screenshots of the photographs that were used without authorization. In the data
 20   transfer, I included 29 screenshots along with a summary PDF containing most of
 21   the Instagram usages. Within hours of the transfer, WeTransfer notified me that both
 22   Mr. Florio and Ms. Kwong had downloaded all the files. True and correct copies of
 23   the WeTransfer notifications and files are attached as Exhibit C. I believe that Mr.
 24   Tauler had a copy of the spreadsheet and the WeTransfer files because when we
 25   spoke, we both referenced the spreadsheet on multiple occasions, and Mr. Tauler
 26   even incorporated information from the spreadsheet into the lawsuit.
 27         9.     In my experience, Instagram has notified infringers regarding the
 28   receipt of a DMCA takedown. Mr. Tauler himself filed counter-notifications that he
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                                DECLARATION OF JON NICOLINI
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  1   personally signed under penalty of perjury, where he contended the DMCA notices
  2   issued by Okularity were issued because of a “mistake or misidentification.” A true
  3   and correct copy of the counter-notifications are attached as Exhibit D.
  4         10.    Mr. Tauler contends that I made a $4.6 million demand on behalf of the
  5   Photo Agencies. That is not true. Due to the high number of infringements, I
  6   explained by e-mail that the maximum exposure ENTtech faced was $4.6 million,
  7   which is based on the maximum statutory damages for willful copyright
  8   infringement.
  9         I swear under penalty of perjury pursuant to the laws of the United States that
 10   the foregoing is true and correct.
 11         Executed this 25 day of September 2020 at Los Angeles, California.
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 13
 14                                           Jon Nicolini

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                                 DECLARATION OF JON NICOLINI
